                                           Case 19-80422               Doc 3   Filed 06/12/19     Page 1 of 1
C-13-12(e)
(10/05)
                                                           UNITED STATES BANKRUPTCY COURT
                                                           MIDDLE DISTRICT OF NORTH CAROLINA

 In Re:                                                                )
             Tara Dyvonne Glover                                       )
                                                                       )                           APPLICATION FOR BASE FEE
                                                                       )                             ELECTRONICALLY FILED
                                                                                                          CHAPTER 13
                                                                       )
                                                                       )
                                                                       )
                                                                       )                   Case No:
                                                  Debtor(s)            )

NOW COMES the undersigned attorney for the Debtor(s), and makes application for payment of attorney fees.

The undersigned prepared the petition, schedules and plan and has represented the Debtor(s) in all proceedings in this
matter.

The undersigned believes that $ 4,500.00 is a fair and reasonable fee for services to the Debtor(s) and has received
from the Debtor(s) $ 0.00 , with $ 4,500.00 remaining to be paid.

No agreements have been made and no understanding exists for a division of fees between the undersigned and the
Trustee or between the undersigned and the Debtor(s).

No compensation has been paid or promised and no property has been transferred or promised to the undersigned as
compensation for services rendered or to be rendered in connection with this case, other than as set forth herein. Except
as specially noted hereon, the undersigned has neither shared nor agreed to share compensation with any other person
other than the members or regular associates of the law firm with which the undersigned is associated.

WHEREFORE, the undersigned prays that an Order be entered allowing a fee of $ 4,500.00 , with the balance of
$ 4,500.00 to be paid through the disbursements by the Trustee.


 Date: June 12, 2019                                                               /s/ Brent C Wootton
                                                                                   Brent C Wootton 34300
                                                                                   Attorney for Debtor(s)

                                                                                   34300 NC
                                                                                   State Bar Code No.




                                                                     CERTIFICATE OF MAILING

This is to certify that I have this day served a copy of the Application For Base Fee on the Chapter 13 Trustee.

 Date: June 12, 2019                                                               /s/ Brent C Wootton
                                                                                   Brent C Wootton 34300




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                     Best Case Bankruptcy
